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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                          February 24, 2022
                                                                          Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

      GENESIS MARINE LLC,           §   CIVIL ACTION NO.
               Plaintiff,           §   4:21-cv-00289
                                    §
                                    §
            vs.                     §   JUDGE CHARLES ESKRIDGE
                                    §
                                    §
      SGR ENERGY INC,               §
               Defendant.           §

                                  ORDER

            Plaintiff Genesis Marine LLC brought action against
       Defendant SGR Energy Inc in January 2021, contending
       that SGR failed to remit timely compensation in
       accordance with the terms of the parties’ charter for hire
       contract. See Dkt 1.
            The parties advised in September 2021 as to settlement
       of their dispute. Dkt 15. A consent judgment was entered
       in that regard. Dkt 16.
            SGR then advised in November 2021 as to
       commencement of a voluntary Chapter 11 proceeding.
       Dkt 17. That notice explains that SGR’s bankruptcy
       petition operates as an automatic stay applicable to all
       entities, including as to the enforcement of any judgment
       obtained before the proceeding commenced. See Dkt 17,
       citing 11 USC §§ 362(a)(1) & (3). Absent relief from the
       Bankruptcy Court, an automatic stay remains effective
       until the case is closed or dismissed, or discharge is granted
       or denied. 11 USC § 362(c)(2).
            Genesis contends that SGR hasn’t satisfied the consent
       judgment and now applies for a writ of execution. Dkt 20.
       But it appears by order of Bankruptcy Judge Christopher
       M. Lopez that SGR’s case won’t be dismissed until sixty
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       days from January 21, 2022 (being March 22, 2022). See
       Dkt 18-1.
           Genesis may voluntarily elect to withdraw its writ of
       execution to be presented at a later time. It must otherwise
       SHOW CAUSE why its application doesn’t violate the
       automatic stay, and why an order of relief from Judge
       Lopez isn’t here necessary. See 11 USC §§ 362(d).
           SO ORDERED.


          Signed on February 24, 2022, at Houston, Texas.



                                 __________________________
                                 Hon. Charles Eskridge
                                 United States District Judge




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